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                         UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF MASSACHUSETTS


 Alamite Ventures LP,
    a Scottish limited partnership,                        Case No.: 1:17-cv-12468-LTS

      Plaintiff,
                                                        PLAINTIFF’S MOTION FOR
 v.                                                  ENLARGEMENT OF TIME TO SERVE
                                                         FOREIGN DEFENDANTS
 Matvil Corporation (d/b/a ETVNET),
   an Ontario, Canada corporation,
 Mikhail Gayster, an individual,
 Nataliya Viktorova, an individual,

      Defendants.


         Plaintiff Alamite Ventures LP (“Plaintiff”) hereby moves this honorable Court to issue an

order enlarging the time to serve the foreign defendants Matvil Corporation, Mikhail Gayster and

Nataliya Viktorova (“Defendants”). As set forth in Docket Entry No. 6, and pursuant to Local

Rule 4.1(a), the Court has provided Plaintiff until March 15, 2018 to complete service of process

on Defendants. However, each of the Defendants are residents of Ontario, Canada and

accordingly must be served in accordance with the Hague Convention on the Service Abroad of

Judicial and Extrajudicial Documents pursuant to Federal Rule of Civil Procedure 4(f).

Accordingly, the 90-day time limit for service set forth in Rule 4(m) and Local Rule 4.1, which

this Court has applied in Docket Entry No. 6, does not apply to serving Defendants in Canada.

F.R.C.P. 4(m) (“This subdivision (m) does not apply to service in a foreign country under Rule

4(f), 4(h)(2), or 4(j)(1)....”).

         As set forth in the attached Declaration of Matthew Shayefar [“Shayefar Decl.”], Plaintiff

has been diligently working towards serving Defendants pursuant to the Hague Convention. On

January 24, 2018, Plaintiff engaged Legal Language Services to manage the service of

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Defendants through the Central Authority of Ontario, Canada pursuant to the Hague Convention.

Shayefar Decl., ¶ 4. The Central Authority received the summonses and complaints for

Defendants on February 15, 2018. Id., ¶ 5. The Legal Language Institute estimates that it will

not receive proof of service back from the Central Authority until May or June of 2018 – two to

four months after receipt. Id., ¶ 6.

         Accordingly, pursuant to Local Rule 4.1(b), and on the basis of the foregoing, Plaintiff

requests that this honorable Court enlarge the time for Plaintiff to accomplish service of process

on Defendants and file such proof of service until July 16, 2018.


Dated:          March 12, 2018                 Respectfully Submitted,
                                               Plaintiff Alamite Ventures LP
                                               By its attorneys,

                                               /s/ Matthew Shayefar
                                               Matthew Shayefar (BBO# 685927)
                                               Valentin Gurvits (BBO# 643572)
                                               Boston Law Group, PC
                                               825 Beacon Street, Suite 20
                                               Newton Centre, Massachusetts 02459
                                               Tel: (617) 928-1800
                                               Fax: (617) 928-1802
                                               matt@bostonlawgroup.com
                                               vgurvits@bostonlawgroup.com

                                               /s/ Evan Fray-Wtizer
                                               Evan Fray-Witzer (BBO # 564349)
                                               Ciampa Fray-Witzer, LLP
                                               20 Park Plaza, Suite 505
                                               Boston, Massachusetts 02116
                                               Tel: (617) 426-0000
                                               Fax: (617) 507-8043
                                               evan@CFWLegal.com




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